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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 11-20331-CR-RNS

  UNITED STATES OF AMERICA,
           Plaintiff,
  vs.

  HAFIZ MUHAMMAD SHER ALI KHAN,
              Defendant.
  ______________________________________/

               DEFENDANT HAFIZ KHAN’S MOTION FOR
      COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

         Defendant, Hafiz Khan, through undersigned counsel, respectfully requests

  that this Court reduce his sentence because of his terminal illness, pursuant to the

  “compassionate release” provision of the First Step Act. 18 U.S.C. § 3582(c)(1)(A)(i).

         As of today, Friday, October 4, 2019, Mr. Khan, who has been suffering signif-

  icant health problems, including pneumonia and cancer, is now “non-verbal” and can-

  not be medicated due to risk of aspiration. (Exh. A.) 1 Mr. Khan’s FMC Butner doctor,

  Dr. Franklin Olmo, has contacted Mr. Khan’s family to inform them that Mr. Khan

  has a “very poor prognosis” and has had “consistent deterioration despite treatment.”

  (Id.) His situation is so serious that the doctor explained the likelihood of heart failure

  and what resuscitation might do to Mr. Khan. Accordingly, Mr. Khan has now been

  placed in the status of “Do not resuscitate/Do not treat/Do not intervene” and instead,




  1Given the urgency of this request, portions of the medical records, which were pro-
  duced today on an expedited basis by BOP to undersigned, are being filed publicly
  with personal identifying information redacted. A complete unredacted set of the
  medical records will be filed separately under seal on Monday, October 7, 2019.
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  simply be kept “with comfort measures.” (Id.) He cannot respond to commands, has

  “shallow breathing,” and is being given morphine every four hours. (Exh. B.)

        On Monday, September 30, 2019, doctors at FMC Butner first contacted Mr.

  Khan’s family to advise them that Mr. Khan was unresponsive. Given the severity of

  his situation, Butner arranged for Mr. Khan’s family to visit him two days later on

  Wednesday, October 2, 2019. Additionally, Probation has conducted a home visit here

  in South Florida on Wednesday, October 2, 2019, to determine the suitability of the

  proposed home for Mr. Khan’s release.

        Given what appears to be Mr. Khan’s imminent death, he, together with his

  family, are requesting he be allowed to die at home. Mr. Khan is presently 84 years

  of age and has served a total of 8 years and 4 months of his 25-year sentence. For the

  following reasons, the motion should be granted.

  I.    PROCEDURAL HISTORY

        Mr. Khan is currently serving a 25-year sentence imposed on August 23, 2013,

  after a jury found him guilty of violating 18 U.S.C. §§ 2339A and 2339B. (DE 808).

  He is currently housed at FMC Butner due to his serious medical problems. On Au-

  gust 20, 2019, Mr. Khan filed a request for compassionate release with the warden.

  (Exh. C.) To date, he has not received a reply.

        Mr. Khan is about to die. On September 30, 2019, the Bureau of Prisons called

  his family members to arrange a special final visit. That visit took place on October

  2, 2019. This motion is being filed to allow Mr. Khan to die at home with his family

  members.



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  II.    LEGISLATIVE BACKGROUND

         Effective December 21, 2018 as part of the “First Step Act,” Congress amended

  § 3582(c)(1)(A), commonly known as the “compassionate release” provision of the fed-

  eral sentencing laws. Prior to that date, a motion to reduce a criminal sentence on

  the basis of “extraordinary and compelling reasons” could be filed only by the Director

  of the Bureau of Prisons. Frustrated with the Bureau’s extreme reluctance to utilize

  this authority in the humane spirit originally intended, Congress amended the pro-

  vision in two critical (and related) respects, one procedural and the other substantive.

  First, procedurally, 18 U.S.C. § 3582(c) was amended to allow a defendant to bring

  his or her own motion for compassionate release “after the defendant has fully ex-

  hausted all administrative rights to appeal a failure of the Bureau of Prisons to bring

  a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a

  request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. §

  3582(c)(1)(A). Second, substantively, for cases where the motion was based on termi-

  nal illness, Congress enacted a definition of “terminal” (among other reforms) to over-

  ride the Bureau’s tendency to wait too long before filing.

  III.   SENTENCING REDUCTION AUTHORITY PURSUANT TO 18 U.S.C.
         § 3582(c)(1)(A)(i)

         Mr. Khan’s present motion is properly before the Court because there has been

  a 30-day lapse since his request to the Warden, who has not yet responded. In United

  States v. Beck, No. 1:13-CR-186-6, 2019 WL 2716505, at *6 (M.D.N.C. June 28, 2019),

  the defendant requested compassionate release on December 10, 2018. Id. The War-




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  den did not take action on her request until May of 2019, when her request was de-

  nied. Id. In the meantime, the defendant had filed a motion with the court on January

  24, 2019. Id. The court held that her motion was properly presented because of the

  30-day lapse between December 10, 2018 and January 24, 2019. Id; see also United

  States v. York, No. 3:11-CR-76, 2019 WL 3241166, at *5–6 (E.D. Tenn. July 18, 2019).

         This Court has discretion to reduce the term of imprisonment imposed in this

  case based on § 3582(c)(1)(A)(i), which states in relevant part that the Court “may

  reduce the term of imprisonment, after considering the factors set for in [18 U.S.C. §]

  3553(a) to the extent they are applicable, if it finds that … extraordinary and com-

  pelling reasons warrant such a reduction… and that such a reduction is consistent

  with applicable policy statements issued by the Sentencing Commission[.]” The latter

  condition refers to the fact that Congress, in the Sentencing Reform Act of 1984, and

  at the same time it enacted § 3582(c)(1), conferred on the Commission the duty and

  responsibility to articulate policies respecting “the appropriate use of . . . the sentence

  modification provisions set forth in section . . . 3582(c). 28 U.S.C. § 994(a)(2)(c).

         In particular, the Commission was assigned the task of promulgating policy

  statements regarding “what should be considered extraordinary and compelling rea-

  sons for sentencing reduction, including the criteria to be applied and a list of specific

  examples.” Id. § 994(t). The Commission fulfilled this responsibility by promulgating




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  USSG § 1B1.13, which was last revised effective November 1, 2018. 2 Under that Pol-

  icy Statement, “terminal illness”—defined as a “serious and advanced illness with an

  end of life trajectory”—has always been considered a qualifying reason for sentence

  reduction. This flexible definition of “terminal” was the one adopted by Congress in

  2018 in the new § 3582(c)(1), rejecting the stricter standard formerly applied by the

  Bureau of Prisons when exercising its now-repealed gatekeeper role. See

  § 1B1.13(1)(A), as elaborated in Application Note 1(A)(i) (giving “metastatic sold-tu-

  mor cancer” as an example of a qualifying “terminal illness.”).

        Here, the BOP medical records show that Mr. Khan satisfies this criterion.

  Again, as of today, Friday, October 4, 2019, Mr. Khan, who has been suffering signif-

  icant health problems, including pneumonia and cancer, is now “non-verbal” and can-

  not be medicated due to risk of aspiration. (Exh. A.) He has a “very poor prognosis”

  and has had “consistent deterioration despite treatment.” (Id.) He has now been

  placed in the status of “Do not resuscitate/Do not treat/Do not intervene” and instead,

  is simply being kept “with comfort measures.” (Id.) He cannot respond to commands,

  has “shallow breathing,” and is being given morphine every four hours. (Exh. B.)

        Mr. Khan is nearing the end of his life, is no longer fully alert, and the BOP

  has made arrangements for special visits with his family members. Probation has

  conducted a home visit, and the BOP has assisted in expediting the production of



  2 Accordingly, the wording of the Policy Statement does not fully account for the
  changes wrought by the First Step Act. Unfortunately, for lack of a Senate-confirmed
  quorum, the Commission is presently disabled from updating and revising § 1B1.13
  (or any other provision of the Guidelines Manual) to make needed revisions.


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  medical records to assist undersigned in filing this motion. A patient with a terminal

  illness nearing the end of his life is exactly the kind of defendant that meets the ex-

  traordinary and compelling reasons contemplated by 18 U.S.C. § 3582(c)(1)(A)(i) and

  USSG § 1B1.13.

  IV.    SECTION 3553(a) CONSIDERATIONS

         With the Sentencing Commission’s Policy criterion satisfied and the “exhaus-

  tion” requirement met, the task before the Court is to determine whether a sentence

  reduction (such as to time served) is “warranted” upon reconsideration of the case

  under the present circumstances, in light of the § 3553(a) factors. Most notably, a

  federal sentence should never be “greater than necessary” to achieve those purposes.

  A sentence longer than the defendant’s probable life expectancy would seem presump-

  tively to violate that principle.

         The nature and circumstances of the offense and the history and characteris-

  tics of the offender, see § 3553(a)(1), coupled with the need to ensure adequate pun-

  ishment, deterrence and community protection see § 3553 (a)(2)(A–C) and to avoid

  unwarranted disparity see § 3553 (a)(6), were deemed at the time of sentencing to

  require the 25 year term of imprisonment imposed. Now that Mr. Khan’s health has

  significantly deteriorated so significantly, a sentence reduction is warranted for the

  same reasons. Mr. Khan is unresponsive, confined to a bed, being given palliative

  care in the form of morphine—in sum, he is in no way a threat to society if released.

         If released, Mr. Khan would reside in Miami with his son Ikram Khan, who

  was not a codefendant.



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        WHEREFORE, based upon the foregoing, Mr. Khan respectfully requests that

  this Court grant him an immediate reduction in his sentence to time served, resulting

  in commencement of supervised release. Mr. Khan is nearing the end of his life, and

  compassionate release is warranted at this time under § 3582(c)(1)(A)(i).

                                  Respectfully submitted,

                                  MICHAEL CARUSO
                                  Federal Public Defender

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                            CERTIFICATE OF SERVICE

         I HEREBY certify that on October 4, 2019, a copy of this document will be
  served on counsel of record via CM/ECF. Additionally, unredacted copies of the ex-
  hibits will be emailed to AUSA John Shipley.




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